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1 KENDALL BRILL & KELLY LLP
  Jeffrey H. Rutherford (181695)
2   jrutherford@kbkfirm.com
  10100 Santa Monica Blvd., Suite 1725
3 Los Angeles, California 90067
  Telephone: 310.556.2700
4 Facsimile: 310.556.2705
5 Attorneys for
  Defendant Thomas H. Peters
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8
                        UNITED STATES DISTRICT COURT
9
                FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                                WESTERN DIVISION
11
12
     UNITED STATES OF AMERICA,               Case No. CR 22-09-SB
13
               Plaintiff,                    DEFENDANT THOMAS H.
14                                           PETERS’ SENTENCING
         v.                                  MEMORANDUM
15
     THOMAS H. PETERS,                       Date:      May 9, 2023
16                                           Time:      8:00 a.m.
               Defendant.                    Courtroom: 6C
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18                                           REDACTED VERSION
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 1 I.      INTRODUCTION
 2         Over three and a half years ago, Thomas Peters made the important decision
 3 to accept responsibility for his own misconduct and to reveal the misconduct of
 4 others in connection with litigation in the Los Angeles County Superior Court
 5 concerning a botched customer care and billing system purchased by the Los
 6 Angeles Department of Water and Power (“LADWP”) from
 7 PricewaterhouseCoopers (“PwC”).1 Since then, he has worked to redeem himself
 8 by cooperating in the wide-ranging federal criminal investigation by the United
 9 States Attorney’s Office
10
11
12
13
14
15
16
17
18
19
20         Mr. Peters’ willingness to accept responsibility and cooperate stands in stark
21 contrast to many other individuals involved in the underlying litigation who engaged
22 in serious misconduct – including acts of collusion and concealment – and who
23 acted for personal financial gain, lied in meetings with the government, or simply
24 refused to accept responsibility for their roles in the underlying litigation and the
25 concealment of wrongdoing.
26         During the last three and a half years, Mr. Peters has been placed on
27         1
               Mr. Peters’ letter to the Court is attached as Ex. A.
28

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 1 involuntary inactive status by the State Bar, and thus unable to work at his chosen
 2 profession or teach (he will be summarily disbarred when the Court enters final
 3 judgment), has been sued civilly, and has been vilified in the media. He has
 4 suffered emotionally. His family, particularly his wife and pre-teen daughter, have
 5 struggled, as well, for which Mr. Peters has tremendous remorse since he knows his
 6 misconduct has caused their anguish. Through this, Mr. Peters has not wavered
 7 from his commitment to accept responsibility and cooperate with the investigations.
 8        Mr. Peters’ downfall is that much more sad, given that his misconduct is
 9 entirely out of character. As the many letters of support attest, aside from the events
10 herein Mr. Peters has led an exemplary life, professionally and personally.2 He had
11 a long, unblemished record of practicing law, at the highest levels, with no history
12 of professional discipline. He is a devoted husband and father, and a committed
13 friend and family member. It can truly be said that the events underlying this case
14 are an aberration from an otherwise law-abiding life.
15        The nature and circumstances of the offense to which Mr. Peters pled guilty –
16 aiding and abetting the extortion of Paul Kiesel by Kiesel’s recently-fired secretary,
17 Person A – are serious, but highly unusual. Person A, the extortionist, was not
18 charged. Mr. Peters had no contact, directly or indirectly, with Person A or any
19 confederate or lawyer for Person A. Mr. Peters played no role in determining the
20 amount demanded or obtained by Person A, and asked for and received no payment.
21        The defense respectfully requests the Court impose a non-custodial sentence
22 of probation, with home confinement, substantial community service, and low-end
23 fine, based on a combination of the following:
24
25        2
           See Letters of Support at Ex. B. Mr. Peters’ letters of support, which span a
26 wide array of friends, family, and former colleagues, underscore key aspects of Mr.
   Peters’ personal history and characteristics. The letters speak to his true character
27 and demonstrate that he has not only accepted responsibility for his wrongdoing,
28 but that his wrongdoing was a complete aberration and out of character.

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 1              The government’s anticipated motion for a downward departure,
 2               pursuant to §5K1.1;
 3              The factors set forth in 18 U.S.C. § 3553(a);
 4              A downward departure, pursuant to §2B1.1, App. Note 21(C), due to
 5               the overstated impact of the amount obtained by Person A, as noted in
 6               the PSR at ¶ 149;
 7              Rejection of an enhancement for abuse of a position of trust, pursuant
 8               to §3B1.1; and
 9              A downward Booker variance, reflecting Mr. Peters’ community work,
10               history and characteristics, imminent and certain disbarment, and
11               minimal likelihood of recidivism, as noted in the PSR at ¶ 150.
12        For the reasons herein, such a sentence “is sufficient, but not greater than
13 necessary,” to achieve the purposes of sentencing.
14 II.    PROCEDURAL BACKGROUND
15        A.     The Cooperation Plea Agreement
16        Mr. Peters pled guilty to a single one-count information charging aiding and
17 abetting an extortion, in violation of 18 U.S.C. §§ 2, 1951, pursuant to a cooperation
18 and plea agreement. The plea agreement contemplates Mr. Peters’ cooperation with
19 the government and, as directed by the government, with any other appropriate
20 authority, including the Bar of any state. See Plea Agreement at ¶ 3.3
21        B.     The PSR and the USPO’s Recommendation Letter
22        The Presentence Report (“PSR”) and the USPO’s Recommendation Letter are
23 addressed in the separately filed Objections and Corrections to Presentence Report
24 and USPO Recommendation Letter.
25
26        3
         The plea agreement also contains a commitment by the government to
27 recommend a sentence at the low end of the Guidelines after application of a
28 downward departure for cooperation, under §5K1.1. See Plea Agreement at ¶ 6.

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 1         C.    Substantial Assistance and the Government’s Anticipated Motion
 2               for a Downward Departure Pursuant to §5K1.1
 3         The defense anticipates the government will move this Court for a downward
 4 departure, pursuant to §5K1.1, to account for Mr. Peters’ substantial assistance to
 5 the government’s federal criminal investigation
 6
 7                                                                         As such, the
 8 defense will address specifics of Mr. Peters’ cooperation and any motion for a
 9 downward departure, in its reply sentencing memorandum after the government files
10 its motion and details Mr. Peters’ cooperation.
11 III.    MR. PETERS’ BACKGROUND
12         A.    Overview
13         Mr. Peters is 57 years old. He is a man of good character who, for decades,
14 dedicated himself tirelessly to the practice of the law. Before he made the poor
15 decisions that brought him into this matter, Mr. Peters had reached the heights of his
16 profession and was recognized by his peers as a talented professional who
17 maintained a deep respect for justice and integrity in the law.
18         He also has a wide circle of supportive friends and family who describe him
19 as a person of high character, loyalty, and compassion, and also as a committed
20 father, husband, son, and brother. Their detailed, insightful, and thoughtful letters
21 speak to Mr. Peters’ many good qualities. See Letters of Support at Ex. B. After a
22 lifetime of honest, honorable behavior and solid standing in the community, Mr.
23 Peters knows his situation has severely impacted his family and is ashamed by how
24 his failings have affected them, particularly his             daughter. Family
25 members and friends remark on Mr. Peters’ profound disappointment in himself and
26 sorrow for putting his family through this ordeal. They uniformly regard his
27 conduct as wholly aberrant from how Mr. Peters has comported himself throughout
28 life.

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 1         Mr. Peters’ sister Elizabeth writes in her letter:
 2                The last several years have been emotionally devastating for
                  Thom and our family. I would never have imagined Thom in a
 3
                  situation like this, and I’m certain that he never did either. We
 4                were raised to be honest, generous, and kind. Thom has always
                  been those things. Thom donates to charities that he supports,
 5
                  he advocates for underdogs, and he admits his faults and
 6                mistakes.
 7
           Brother Ben Peters writes:
 8
                  I can tell you with sincerity that Thom is gutted by what he has
 9                done, he is disappointed in himself and he knows he has let us
                  all down with his actions. Thom and I have spent many nights
10
                  discussing this and I know he is deeply ashamed and knows he
11                has to pay back the society he has wronged.
12
           David Egdes, Senior Vice President at Tennis Channel, has known Mr. Peters
13
     since college. He writes:
14
                  Thom always loved the law. He is the most well-intentioned
15                person and he always cared about his clients. It’s just sad what
16                this has done to him. We still meet for lunch and I’ve been
                  through the whole thing with him.
17
                  His whole life was about work and family.
18
           Greg Satz, a neighbor, states:
19
                  Since this has happened, I can truthfully say Thom is devastated
20
                  and incredibly remorseful for what he has done. He has told me
21                over and over that he is dumbfounded by what he did…. I
                  would hazard to guess this was a total lapse in judgement for
22
                  him, completely out of character.
23
           Mr. Peters feels deep contrition for his poor judgment and accepts complete
24
     responsibility for his actions. His remorse is real and permanent. While he has
25
     made a serious mistake, he is not, nor has he ever been, dangerous or a threat to
26
     society. On the contrary, he is a decent, hardworking, family man with an excellent
27
     work history, a capacity to contribute in the future, who could not have imagined the
28

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 1 consequences he now faces but who also poses zero risk of reoffending.
 2         B.      Personal, Family and Educational Background
 3         The PSR sets forth Mr. Peters’ personal, family, and educational background,
 4 and will not be repeated here. See PSR Part C.
 5         C.      Employment Background
 6         Mr. Peters’ employment background is set forth in the PSR. See PSR Part C,
 7 ¶¶ 121-26. The defense has also attached a copy of Mr. Peters’ curriculum vitae.
 8 See CV at Ex. C. A few points about Mr. Peters’ employment background bear
 9 highlighting.
10         Mr. Peters practiced law from 1992 until he left the Los Angeles City
11 Attorney’s Office in 2019. He has no history of attorney discipline and was never
12 the subject of a State Bar complaint, to his knowledge.
13         Mr. Peters’ choice to specialize in civil law was influenced by an experience
14 he had as a teenager. His father testified as an expert witness in a civil case and
15 arranged for Mr. Peters to meet with the attorneys on the case. Mr. Peters recalls
16 hearing them saying that in civil law you always learn something new, which deeply
17 resonated with Mr. Peters.
18         Mr. Peters’ love of the law also drew him to teaching it, and he spent two
19 years as an adjunct faculty member at the UCLA School of Law. As Dean Russell
20 Korobkin of the UCLA School of Law writes:
21                 In 2017, in my role as vice dean in charge of the law school
                   curriculum, I was looking to find an adjunct faculty member to
22
                   teach a seminar for law students who were participating in civil
23                 law internships with government agencies. I thought that Mr.
                   Peters would be ideal for this, so I reached out to him. Despite
24
                   his very busy schedule, he enthusiastically embraced the idea,
25                 and taught the seminar very successfully for four consecutive
                   semesters, before his current legal troubles forced him to step
26
                   away from teaching. He relished the idea of helping law
27                 students think deeply and analytically about the work that they
                   were doing and to develop as public servants. As with all my
28

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 1                 interactions with Mr. Peters, I found his actions to be entirely
                   selfless. Traveling from the City Attorney’s Office downtown
 2
                   to Westwood to teach an evening seminar after a full day of
 3                 work is taxing, and the monetary compensation involved is
                   minimal. The only reason for a lawyer of Mr. Peters’ stature to
 4
                   take on this responsibility – and the verve with which he
 5                 approached the task – is a desire to give back to the legal
                   community. It was definitely a loss to our program when he
 6
                   had to stop teaching the course.
 7
     Mr. Peters’ mother writes:
 8
                    He wanted to be an attorney since he was a young child and
 9
                    worked very hard to be the best he could for his clients. He
10                  also greatly enjoyed doing some part-time teaching to law
11                  students at UCLA. He was honored to be chosen to work in
                    the City Attorney’s office.
12
                    His father and I have always been proud of Thom’s work ethic
13                  and I know he worked long and hard to succeed in each
                    position. At Thom’s 50th birthday party, in April 2016, it was
14
                    such an honor to have Thom’s boss, the city attorney, come to
15                  his party and joke with us, “Thom is an outstanding lawyer,
                    he’s too good to be true. I came to this party just to meet his
16
                    parents, and get the inside story.”
17
           Mr. Peters has been devastated by losing, almost overnight, the career that
18
     has long defined him. The downfall has been rapid and steep, and he has only
19
     recently begun to put himself back together.
20
     IV.   SENTENCING
21
           A court should “impose a sentence sufficient, but not greater than necessary,
22
     to comply with the purposes” of sentencing. 18 U.S.C. § 3553(a); see Kimbrough v.
23
     United States, 552 U.S. 85, 91 (2007) (describing this language as the statute’s
24
     “overarching provision”). With that in mind, a court considers the factors set forth
25
     in 18 U.S.C. § 3553(a)(1-7).4
26
27
           4
28             The advisory Guidelines and their policy statements are among these

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 1         A.     Nature and Circumstances of the Offense
 2                1.      Aiding and Abetting Extortion Atypical and Outside the
 3                        Heartland
 4         Mr. Peters’ charged conduct, while serious, is outside the heartland of
 5 extortion cases the defense has surveyed.5
 6         First, the central actor in the extortion is Person A. She deliberately stole
 7 documents (which belonged to the City as the client of the firm) from Kiesel Law
 8 (the law firm of Mr. Kiesel, then co-Special Counsel with Mr. Paradis for the City)
 9 in anticipation of being terminated by Mr. Kiesel and with the intent to leverage the
10 stolen documents to settle an employment claim against the firm.6 Mr. Peters
11 understood the stolen documents to include attorney-client privileged
12 communications and attorney work product that were the subject of an ongoing
13 discovery dispute in the PwC litigation.
14         Second, Mr. Peters was not aware of Person A’s theft or threats until her
15 extortion and discussions of settlement with Mr. Kiesel were well underway, when
16
     sentencing factors. See 18 U.S.C. § 3553(a)(4)-(5). The Guidelines are the
17   “starting point and the initial benchmark” of the sentencing process. Gall v. United
18   States, 552 U.S. 38, 49 (2007). While a court is required to take account of the
     Guidelines, it may not presume that the Guidelines range is reasonable. Nelson v.
19   United States, 555 U.S. 350, 352 (2009) (per curiam).
            5
20            This is an atypical aiding and abetting extortion case. The extortion is not
     part of a broader RICO case. Rather, it is part of a case involving lawyers who
21   colluded in a class action lawsuit and settlement and took steps to conceal that
22   collusion. The extortion alleged here – to prevent disclosure of stolen and
     privileged documents – was limited in duration and severity. There was no threat
23   of force or violence. The potential harm was financial and reputational and did not
24   involve the potential disclosure of sexual or intimate material. There is no
     connection to organized crime. The target of the extortion, Mr. Kiesel, is not a
25   vulnerable victim.
            6
26            Person A had an apparently valuable employment/wrongful termination
     claim against Kiesel Law under the California Fair Employment and Housing Act
27   (“FEHA”), Cal. Gov’t Code § 12940, et seq., due to her age, race, gender, and
28   medical condition.

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 1 he was informed of it by Mr. Paradis, who sought Mr. Peters’ assistance.
 2        Third, Mr. Peters never coordinated with, communicated with, or acted in
 3 concert with Person A, nor did he participate in any of the meetings between Mr.
 4 Kiesel and Person A to resolve their dispute.
 5        Fourth, Mr. Peters did not demand that Mr. Kiesel pay any particular sum of
 6 money to Person A or any sum at all; only that Mr. Kiesel do whatever needed to be
 7 done to retrieve the stolen City documents.
 8
                                                                             7
 9
10
11                       Also unbeknownst to Mr. Peters, Mr. Paradis (and/or Jack
12 Landskroner through Mr. Paradis) paid $400,000 of the $800,000 obtained by
13 Person A.8
14        Fifth, Mr. Peters did not demand, expect, or receive any money. The payment
15 was demanded by and paid to Person A. Extortion cases involving payments to third
16 parties are, by far, the exception. And, while an individual can be liable for aiding
17 and abetting an extortion where the funds extorted are directed to a third party rather
18 than the person making the extortionate threat, see United States v. Panaro, 266
19 F.3d 939, 943 (9th Cir. 2001), those cases typically involve payments to third parties
20 wherein the aider and abettor is conspiring with or acting “in concert” with the third
21 party. Such is not the case here. These circumstances were highly unusual,
22 particularly where the third-party extortionist had a potentially valuable cause of
23
24        7

25
26
          8
          Attached is the settlement check of $800,000 and wire transfers totaling
27 $400,000 from Mr. Paradis to Mr. Kiesel. See Payment Documents at Ex. H.
28

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 1 action, unrelated to the aider and abettor, that was released as part of the extortion.
 2         Sixth, the extortionist, Person A, has not been charged. Also not charged are
 3 the “senior members of the City Attorney’s Office” who “directed [Mr. Peters] to
 4 take care of the situation.” See Peters Factual Basis at ¶ 20.
 5         Last, Mr. Peters did not know that Mr. Paradis’ motivation to conceal the
 6 origins of the Jones class action complaint and its collusive settlement was because
 7 Mr. Paradis engaged in an elaborate kickback and bribery scheme to enrich himself
 8 and others. Mr. Peters only learned of these illegal financial arrangements after the
 9 plea agreements for Mssrs. Paradis, Wright and Alexander became public.
10                  2.      Context of the Collusive Lawsuit and Settlement
11         The backdrop to Person A’s extortion, and Mr. Peters’ acts of concealment, is
12 the collusive lawsuit and settlement of the Jones class action and related class
13 actions.9 Mr. Peters had a limited role in defending and settling the class actions,
14 including Jones, which was the subject of the stolen documents.
15             While Mr. Peters learned early on of much of the misconduct of others, and
16 thereafter personally engaged in misconduct, including by failing to whistle blow
17 and affirmatively acting to conceal the origins of the Jones class action and
18 collusive settlement, his role was limited. Mr. Peters was not the architect of the
19 “white knight” strategy, which was devised by Mr. Paradis and authorized and
20 directed by City Attorney Official. See Peters Factual Basis at ¶ 8(a). He was not a
21 central player on the class action defense team and, after the filing of the Jones class
22 action complaint, did not negotiate the settlement of the class actions or the award of
23 collusive attorney’s fees, did not appear in court for the hearings surrounding
24         9
             Mr. Peters’ acts of concealment took place in connection with the City’s
25   affirmative lawsuit against PWC, which Mr. Peters was supervising because Mr.
26   Clark (who normally oversaw the defense of class actions against LADWP,
     including Jones) was recused from the PWC litigation due to his status as a retired
27   partner of PWC’s counsel, Gibson, Dunn & Crutcher, LLP. See Organization
28   Charts at Ex. D.

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 1 settlement terms and attorneys’ fees, all of which were handled by other members of
 2 the City Attorney’s Office and outside counsel, and did not participate substantively
 3 in the multiple mediation sessions before former District Court Judge Dickran
 4 Tevrizian (Mr. Peters only briefly stopped by one of them as a courtesy and engaged
 5 in no substantive negotiation). Those negotiations were headed by Mr. Clark, with
 6 Mr. Paradis’ active assistance.
 7         Aside from Mr. Paradis, none of the attorneys who were the central
 8 participants in the collusive Jones lawsuit have been charged criminally. No
 9 charges have been brought against the attorneys who handled the mediation and
10 settlement of Jones, or who handled multiple court appearances in which the
11 collusive origins and settlement of the lawsuit were not disclosed or were actively
12 concealed.
13         Also, as the Court may know, discovery of the collusion in Jones and
14 concealment in PwC prompted, among other things, appointment of new class
15 counsel, Brian Kabateck and Kabateck LLP, to investigate the class action
16 settlement and report on any issues that could inure to the detriment of the class.
17 Judge Elihu Berle approved a stipulation that concluded that, aside from the
18 collusive award of attorneys’ fees and in consideration of the resolution of certain
19 open issues, the original Jones settlement was “fair, reasonable, and adequate
20 relief…and is in the best interests of the class members.”10
21               3.      Overstated Impact of Amount Obtained by Person A
22         Person A was paid $800,000. That amount overstates the Guidelines range
23 with respect to Mr. Peters’ Guidelines exposure and, as such, overstates the
24 seriousness of his offense with respect to his Guidelines calculation. See U.S.S.G.
25         10
            In support of this point, the defense attaches a pleading, without its exhibits,
26 from Bradshaw v. City of Los Angeles, Case No. CV 19-6661-VAP, which describes
   the stipulation and approval by Judge Berle. See Bradshaw Pleading at Ex. E (Case
27 No. CV 19-6661-VAP, Dkt. No. 200 (without exhibits), filed Feb. 13, 2023).
28

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 1 §2B1.1, App. Note 21(C).11
 2         In such situations, a Guidelines downward departure (under App. Note 21(C))
 3 or downward Booker variance is encouraged. Id.; see, e.g., United States v. Corry,
 4 206 F.3d 748, 751 (7th Cir. 2000) (“That the loss overstates the seriousness of the
 5 offense is … an encouraged basis for departure.”). This is a departure ground that is
 6 specifically noted in the PSR, (PSR ¶ 149), although the USPO’s Recommendation
 7 Letter does not recommend it.
 8         As noted above, Mr. Peters never asked for nor received any money, played
 9 no role in determining the amount obtained, and did not care whether or how much
10 Person A was paid, so long as the stolen documents were returned. He only knew
11 that Person A had demanded $900,000 to settle her claims and return the documents,
12 and Mr. Kiesel had offered $60,000 prior to their final meeting. Had the amount
13 Person A ultimately obtained been, for instance, less than $95,000, it would have
14 resulted in an enhancement of eight (8) levels, resulting in a range of 15-21 months
15 (Offense Level 14), after acceptance of responsibility, rather than an enhancement
16 of fourteen (14) levels, and a range of 33-41 months (Offense Level 20).
17               4.      Abuse of Trust
18         The PSR applied a two-level enhancement for abuse of a position of trust,
19 pursuant to §3B1.3, on the ground that Mr. Peters’ position at the City Attorney’s
20 Office “significantly facilitated” his aiding and abetting of Person A’s extortion.
21 See PSR ¶¶ 57-58. This was not an enhancement to which the parties stipulated in
22 the plea agreement and should not be applied here.
23         Mr. Peters’ role was limited to threatening Mr. Kiesel that Mr. Peters would
24 advocate to his superiors that Mr. Kiesel be fired as Special Counsel should Person
25 A follow through and disclose the stolen documents. While Mr. Peters may have
26         11
            The amount obtained, for the purpose of calculating the Guidelines, is
27 determined by cross-referencing §2B1.1(b)(1), and is the amount obtained by the
28 extortionist, Person A.

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 1 had the ability to influence a decision to terminate Mr. Kiesel, he did not have the
 2 authority to do so. As such, this threat of advocacy cannot fairly be characterized as
 3 something that “significantly facilitated” Person A’s extortion, which was already
 4 well underway and, indeed, was in settlement discussions when Mr. Peters was
 5 informed of the matter by Mr. Paradis.
 6           Mr. Peters’ position and role did not affect Person A’s conduct or behavior
 7 and there is no evidence she had any idea of Mr. Peters’ role. She devised her
 8 scheme to steal the documents and threaten to disclose them unless she was paid for
 9 an allegedly wrongful termination. Her actions were completely independent of Mr.
10 Peters.
11        Finally, Mr. Peters’ participation was not necessary to Person A’s
12 commission of the crime, particularly given the participation of Mr. Paradis.12 Mr.
13 Paradis, as Mr. Peters only later learned, was intent on keeping the collusive origins
14 of Jones from being disclosed because he had many millions of dollars in kickbacks
15 and improper contracts at stake. Unlike Mr. Paradis, Mr. Peters had no interactions
16 with Person A during this time period. He played no role in the negotiations
17 between Mr. Kiesel and Person A. He had no role in the amounts demanded or paid,
18 nor did he care what the amount was, if anything.
19        B.      History and Characteristics of Mr. Peters
20                1.      Mr. Peters’ Conduct is a Marked Deviation from an
21                        Otherwise Law-Abiding Life
22        As the letters of support underscore, Mr. Peters’ conduct in this case was a
23 clear aberration and, thus, fits within the departure for aberrant behavior under
24 §5K2.20, since the conduct was a “single act” of “limited duration” and a “marked
25
          12
26          Mr. Kiesel’s $60,000 initial offer to settle the employment dispute with
   Person A was deemed insufficient. Unbeknownst to Mr. Peters until much later,
27 Mr. Paradis contributed $400,000 to reach the $800,000 ultimately paid. As noted
28 above, the defense does not know if the $400,000 originated from Mr. Landskroner.

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 1 deviation” from an “otherwise law-abiding life.” And, even if Mr. Peters’ conduct
 2 does not fit neatly within the aberrant behavior departure, it merits consideration in
 3 terms of supporting a substantial downward variance and a non-custodial sentence.13
 4         Mr. Peters is in Criminal History Category I. When a defendant is in
 5 Category I, a court may consider the lack of a criminal history “as a mitigating
 6 factor” in support of a downward variance.14
 7         The defense submits Mr. Peters’ “personal history and characteristics starkly
 8 contrast with the nature and circumstances of” this crime, and thus should be
 9 considered as a factor that supports a downward Booker variance.15
10               2.      Mr. Peters’ Employment Record
11         Mr. Peters has been a lawyer and member of the State Bar of California, in
12 good standing, since 1993. He had steady employment in both the public and
13 private sectors, holding a significant leadership position at the City Attorney’s
14 Office, as well as partnerships in well-regarded civil litigation firms. Aside from the
15 misconduct underlying his conviction, his legal career was exemplary.16
16         By 2013, Mr. Peters decided it was time to serve his community by going into
17 public practice. Although enjoying a successful private practice, he was honored to
18
19         13
               Cf. United States v. Lam, 20 F.3d 999, 1003-05 (9th Cir. 1994) (holding
20   that a downward departure was warranted even though the defendant’s behavior
     was not technically an aberration because he had a previous offense).
21          14
               See United States v. Autery, 555 F.3d 864, 874 (9th Cir. 2009) (supporting
22   this variance factor and noting that defendants with minor criminal histories can
     also be in Criminal History Category I).
23          15
               See United States v. Gupta, 904 F.Supp.2d 349, 353-54 (S.D.N.Y. 2012) (a
24   variance for “aberrant behavior” need not fit within the definition in the
     Guidelines), aff’d, 747 F.3d 111 (2d Cir. 2014).
25          16
               A court can take account of that employment history in determining an
26   appropriate sentence. See U.S.S.G. § 5H1.5; see also United States v. Patillo, 817
     F.Supp. 839, 845 (C.D. Cal. 1993) (holding the defendant’s stable employment was
27   a justification for a departure); see also United States v. Jones, 158 F.3d 492, 498
28   (10th Cir. 1998).

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 1 be selected by City Attorney Michael Feuer to serve as Chief of the Civil Litigation
 2 Branch. That position entailed, among many other things, oversight of more
 3 than100 lawyers handling a range of civil claims involving the City; everything
 4 from sidewalk trips and falls, defense of alleged sexual abuse, wrongful death,
 5 wrongful incarceration, police use of force and wrongful termination matters,
 6 Constitutional challenges to City executive and legislative actions, appellate
 7 advocacy, as well as affirmative litigation brought by the City Attorney’s Office
 8 pursuant to Cal. Bus. & Prof. Code § 17200, et seq.
 9        Finally, he was active in professional associations, serving on the boards of
10 the Los Angeles County Bar Association and Consumer Attorneys Association of
11 Los Angeles. He was a Lecturer at UCLA Law School. An AV-rated and highly
12 respected lawyer, he regularly spoke to bar groups.
13               3.      Mr. Peters’ Extraordinary Acceptance of Responsibility
14        Mr. Peters’ acceptance of responsibility has been greater than that of a typical
15 defendant, who earns a 3-level reduction under §3E1.1 simply by timely admitting
16 conduct and sparing the government from preparing for trial. See, e.g., United
17 States v. Brown, 985 F.2d 478, 482-83 (9th Cir. 1993) (holding district court did not
18 err in making additional reduction beyond that provided by §3E1.1). His
19 extraordinary acceptance of responsibility merits consideration in support of a
20 downward Booker variance and non-custodial sentence.
21               4.      The Collateral Consequences to Mr. Peters and his Family
22                       Are Significant
23        Over the last three and a half years, Mr. Peters has suffered significant and, in
24 some cases, irreversible employment/financial, reputational, and personal
25 consequences. These collateral consequences merit consideration in support of a
26 substantial downward Booker variance.
27                       (a)    Loss of Law License
28        Mr. Peters has been involuntarily suspended from practicing law and will be

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 1 summarily disbarred when final judgment is entered in this case.
 2         The loss of a license to practice law and earn a livelihood – after nearly 30
 3 years of unblemished work – is life changing and a significant punishment, in itself,
 4 for wrongdoing.17 See United States v. Whitmore, 35 F. App’x 307, 322 (9th Cir.
 5 2002) (affirming district court’s finding that destruction of one’s “professional
 6 capacity and ordinary livelihood constituted a pretty serious punishment already
 7 inflicted…and one that’s likely to be permanent.”) (internal citations omitted);
 8 United States v. Anderson, 533 F.3d 623, 633 (8th Cir. 2008) (finding that district
 9 court did not abuse its discretion in considering “atypical punishment” of loss of
10 reputation and company); United States v. Hendrick, 2009 WL 10709763, at *3
11 (S.D. Fla. Sept. 23, 2009) (noting the loss of law license in connection with
12 downward variance on resentencing).
13                       (b)   Notoriety of Case and Civil Lawsuits
14         The negative press coverage has been significant. Mr. Peters has been at the
15 center of much of that coverage. He has been in no position to respond, particularly
16 after he began cooperating with the government. He has been exposed to two civil
17 lawsuits, has had to pay to defend those civil lawsuits, and will not be voluntarily
18 indemnified for any judgment.
19                       (c)
20
21
22
23         17
                A number of California-barred attorneys, who appear to have engaged in
24   unethical and possibly criminal behavior, were not charged. Unless charges are
     brought and convictions are obtained, none will face the certain loss of a law
25   license by summary disbarment.
             18
26              Mr. Peters is painfully aware of the difficulties his wife and daughter have
     faced as a result of his conduct. This is a source of intense personal distress and
27   sadness. He deeply regrets that his conduct has negatively impacting his daughter
28   at this crucial stage of her

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11               5.      History of Good Works and Community Service
12         Mr. Peters has a long history of good works and service to his community,
13 going back to college and law school. When in private practice, he received the
14 Wiley W. Manual Certificate for Pro Bono Legal Services for his work with tenants
15 in unlawful detainer matters as a volunteer lawyer for Bet Tzedek. He has
16 volunteered at his daughter’s school and volunteers with two Chabad community
17 organizations. Since last year, he has volunteered weekly at MEND’s foodbank in
18 Pacoima, spending each Friday providing food and other assistance to those in need.
19 See Mend Materials at Ex. G.
20         A community service component to a non-custodial sentence would allow Mr.
21 Peters to continue to contribute his considerable talents to better his community.
22 Mr. Peters’ community service could include, for instance, a requirement that he
23 offer to speak to law schools, law firms, and bar associations about his experience,
24 for free, as a cautionary tale.
25               6.      Amenability to Supervision in the Community
26         On February 14, 2022, Mr. Peters appeared on a summons and was released
27 on personal recognizance bond. He has been on pretrial release for a year and is in
28 compliance. His amenability to non-custodial, community supervision is a factor

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 1 that supports the defense’s request for probationary sentence.
 2         C.    Purposes of Sentencing
 3         The purposes of sentencing, pursuant to § 3553(a)(2)(A)-(D), including just
 4 punishment and specific and general deterrence,19 can be met with a probationary
 5 sentence with home confinement and community service, which the Court can do
 6 through a combination of an appropriate Guidelines calculation and downward
 7 departure, a downward departure for substantial assistance under §5K1.1, and a
 8 downward Booker variance.
 9         D.    Need to Avoid Unwanted Disparities
10         A court must, when determining a sentence, consider the need to avoid
11 unwarranted disparities among defendants with similar records who have been
12 found guilty of similar conduct. 18 U.S.C. § 3553(a)(6).
13         Mr. Peters does not have co-defendants.
14         Person A was not charged in connection with her extortion and, apparently,
15 will not be charged, as the statute of limitations appears to have run. No other
16 California-barred attorneys were charged criminally, despite their participation in
17 and knowledge of the underlying collusive lawsuit and settlement and despite, at
18 least as to some of them, lying to the government during the investigation.
19         Of those charged in the “related” cases, their conduct is plainly not
20 comparable to that of Mr. Peters, and they cannot fairly be considered “similarly
21
           19
22             Mr. Peters presents no realistic risk of recidivism. As for general
     deterrence, Mr. Peters has been placed on involuntary inactive status by the Bar and
23   is the only California-barred attorney who will be summarily disbarred as a result of
24   the underlying misconduct. Mr. Peters has cooperated and taken responsibility,
     unlike many other wrongdoers in the underlying litigation, and his sentence should
25   reflect that courts want to encourage cooperation with the government and
26   acceptance of responsibility. Finally, the extortion took place over six years ago
     and Mr. Peters’ concealment efforts ended almost four years ago. As set forth
27   herein, Mr. Peters has since taken important steps since then to accept
28   responsibility, cooperate, and regain stability in his life.

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 1 situated.” First, as to Mr. Paradis, he is responsible for much of the wrongdoing at
 2 issue in the underlying litigation and stood to gain millions in profit for his
 3 misconduct. Mr. Peters was completely unaware of and uninvolved in Mr. Paradis’
 4 kickback and bribery scheme. Second, as to Mr. Wright and Mr. Alexander, they
 5 accepted bribes, engaged in obstructionist behavior, including (in Mr. Wright’s
 6 case) destruction of evidence, and lying to the government when interviewed. They
 7 also either did not cooperate or did not provide meaningful cooperation.
 8         With respect to similarly situated defendants nationally, the defense has been
 9 unable to identify a sentencing in a case involving a defendant who aided and
10 abetted the non-violent, economic, or reputational extortion of another person, did
11 not receive or request any payment from that extortion, and did not coordinate,
12 communicate, or collude with the extortionist.
13         E.     Fine
14         The USPO has recommended a high-end fine of $150,000. The defense
15 requests that the Court impose a fine at the low end of the Guidelines range, given
16 the financial impact this case has had and will continue to have on Mr. Peters,
17 including expenditure of legal fees (much of which has been in connection with his
18 cooperation), the loss of his ability to practice law.
19         F.     Proposed Conditions of Supervised Release/Probation
20         The USPO recommended a number of conditions of Supervised
21 Release/Probation that the defense submits are onerous, inappropriate, and
22 constitute a “greater deprivation of liberty than is reasonably necessary” to meet the
23 purposes of sentencing. These include Conditions 4-7. Mr. Peters’ use of alcohol
24 was time- and situation-specific; it occurred in the wake of learning of the
25 government’s decision to charge him criminally, which was 18 month ago; and is
26 not an ongoing issue,
27
28              and the unwavering support of family and friends.

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 1 V.     CONCLUSION
 2        Mr. Peters’ misconduct, for which he has fully accepted responsibility, is
 3 outweighed by his cooperation, otherwise law-abiding life, imminent loss of his
 4 license to practice law, his personal history and characteristics, and the nature and
 5 circumstances of his offense. For these reasons, the defense respectfully requests
 6 that the Court impose a sentence of probation with home confinement, community
 7 service, and a low-end fine, which is “is sufficient, but not greater than necessary,”
 8 to achieve the purposes of sentencing.
 9
10 DATED: April 25, 2023                 KENDALL BRILL & KELLY LLP
11
12
                                         By:          /s/ Jeffrey H. Rutherford
13
                                               Jeffrey H. Rutherford
14                                             Attorneys for Thomas H. Peters
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